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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

UNITED STATES DISTRICT COURT

 

 

 

for the
District of North Dakota
Division
Md Shakhawat Hossain :
Case No. /-2Z0-CV-0C09
(to be filled in by the Clerk’s Office)
Plaintiff(s)

(Write the full name of each plaintiff who is filing this complaint.
Lf the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Jury Trial: (check one) [V|Yes [_]No

JOB SERVICE NORTH DAKOTA

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

Nee! eee Nee Nee Nee ee” ee ee ee” ee” ee a ee

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

needed.
Name Md Shakhawat Hossain
Street Address P.O Box 550682
City and County Dallas Dallas County
State and Zip Code Texas 75355
Telephone Number 7018406209

 

 

E-mail Address shossaincareer@gmail.com

B. The Defendant(s)
Provide the information below for each defendant named in ‘the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person’s job or title (ifinown). Attach additional pages if needed.
na mayo

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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

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Defendant No. 1

 

 

 

 

 

Name JOB SERVICE NORTH DAKOTA

Job or Title (ifknown) 7
Street Address P.O Box 5507

City and County Bismarck Burleigh County _
State and Zip Code North Dakota 58506 :

Telephone Number (701) 328-4995

 

E-mail Address (if known)

 

Defendant No. 2

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

Telephone Number -

 

E-mail Address (if known)

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

Telephone Number -

 

E-mail Address (if known)

 

Defendant.No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number -

 

E-mail Address (if known)

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II.

Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

y

 

 

 

 

Name Job Service North Dakota
Street Address 1000 E Divide Ave, Bismarck
City and County Bismarck Burleigh County
State and Zip Code North Dakota 58506
Telephone Number (701) 328-4995

 

Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

LIN WN

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VIZ, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note. In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal law):

Immigration Reform and Control Act of 1986

 

Relevant state law (specify, if known):
North dakota human rights act (n.d.c.c. ch 14-02.04)

 

Relevant city or county law (specify, if known):

 

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HI.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

ONNSOONS

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify): Discrimination on Marital Status and Lawful activity

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.) |

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
On May 5th, 2017, 07/07/2041 7-21/06/2018

 

C. I believe that defendant(s) (check one):

C]
CJ

is/are still committing these acts against me.

is/are not still committing these acts against me.

 

 

 

 

 

D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race (Asian)harrasement,discrimination
color (Brown) harrasement -
gender/sex (male)harrasement, termination
religion (islam)termination,adverse actions
national origin Bangladesh)limited terms, policies
age (year of birth) _ (only when asserting a claim of age discrimination.)

NIOINIWNISIS)

disability or perceived disability (specify disability)

1

 

E. The facts of my case are as follows. Attach additional pages if needed.

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E. The facts of my case are as follows. Attach additional pages if needed:

1. On March 30th ,2017, before sending me the employment offer letter, my supervisor Amy
Shawver Morman asked me how many years of work authorization do you have? After I answered
that question my supervisor Amy Shawver Morman again asked me “after that”? I told her I am
thinking to get married here (in good faith). I believe reveling marital status and intention was a
cause to get the offer letter from my supervisor.

2.On May 5th, 2017, I wished to show a lawful J-9 documents , option number 5 on I-9 List A
provided by job service North Dakota , but My Employer (supervisor) rejected that option and
asked for specific I-766 documents, option number 4 on the I-9 list A, during a phone conversation
and created limited employment terms based on my national origin and for revealing my marital
status and intention. Option 5 lawful document would have provided me another 11 months and
28 days of work authorization and after this period of employment authorization, I was able to
show 1-766 document as proof of my work authorization from the list provided on which I worked
from July 2017 to June 2018. As a result, I was a victim of that limited terms and adverse
employment decision against me regarding that employment opportunity for that specific period
based on my national origin . I lost employment opportunity and experience, salary, benefits etc.
for this 11 months and 28 days.

3.For revealing that marital status and intention to my supervisor Amy Shawver and other co-
workers, some of my Female co-workers, Amy Carlson, Connie Johnson, as well as my supervisor
Amy Shawver and co-worker Mathwich Tyler for his daughter directly or indirectly approached
me for the prospect of marriage. It took some time to take the decision regarding my marriage as
I was doubtful about their intention. I believe they felt I should be married to one of my female
coworkers or someone associated with them. I felt this was harassment based on my sex and
marital status. As I was not decided at that point regarding my marital decision; I did not respond
to my co-workers direct and indirect marriage related relation building and later expressing
harassments was a cause to take adverse decisions by my Supervisor that led to my termination
by force. I lost employment, salary, experience, career.

4.1 also felt what I was doing outside of my workplace any lawful activity whether to build a
personal relationship or any money related matter Amy Shawver and Mathwich Tyler tried to give
allusion to those events inside my workplace by relating to some other passive events or directly
expressing those events in a way that they are concerned about all those events I was doing outside
of my workplace , I also felt that they were tracking almost all of my activities through their
personal connection or other possible illegal ways outside of my workplace, these harassing
activities caused severe emotional distress and destroyed my personal and social life and later
caused my supervisor to take adverse employment decisions against me.

5. Amy Shawver and Mathwitch Tyler (co-worker) tried to instill fear in me by telling me about
previous coworkers who were fired from their employment.
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6. Amy Shawver and Mathwich Tyler started talking to me about weed smoking and Amy Shawver
specifically told in front me directly that If I go to Colorado, I would be able to smoke weed there
its legal there. I went through background check and during my employment. I rarely smoked
Cigarette. They also said as “I smoke weed that’s why I might have been able to remember things
from very past”. I believe they were trying to relate to something from my national origin and
caused severe mental and emotional distress to me.

7. received some documents in my mailbox that has something roughly similar to that “internet
access at my home will be monitored”. I believe that letter was sent specifically to me for my
national origin. During my employment, based on the harassing conversations especially a
conversation about a nude person specially pointed at me by my co-workers especially Mathwich
Tyler and Amy Shawver Morman led me to believe that a monitoring camera might also be inside
my house by my co-workers or someone associated with them. I believe these terms and
conversations were special because of my national origin ,religious creed , color.

8. I was asked many questions regarding my political opinions at my country by Pat. C. Kelly. I
believe through their personal connections some of my co-workers Pat .C Kelly, Amy Shawver ,
Mathwich Tyler used to pass conversations regarding my political opinion and affiliation at my
national origin to some other people associated with my national origin at North Dakota and I
believe they were from rival political religious groups than mine and asa result brought hostility
inside the workplace which is based on my political affiliation at my national origin. I suffered
emotional pain and suffering and later that hostility based on my national origin was also a cause
my termination decision was taken.

9. Rumors were going around the workplace that I was going to sue somebody I believe based on
previous marriage related issues with Mathwich Tyler for his daughter. During that time, Before
Attending a meeting outside of that meeting room, infront of ISND IT team, Mathwich Tyler made
acomment “why don’t somebody get a job at other agency like NDDOT or ITD, they are big
agencies they pay even more, and they are not going to downgrade anybody to Programmer
Analyst I or II”. ". He showed his intention to remove me from Job service North Dakota and the
entire JSND web programming team supported him during that meeting. Later adverse
employment decisions like termination or removal from the job were taken against me based on
my marital status, national origin and race.

10. During the meeting, Karla Duray, team member, tried to point to the rumors, using the phrase,
“these days even a porn star is suing our president, I believe "suggesting that an Asian suing a
Caucasian is not a big deal. (Based on race.)". Rumors to participate in a opposing legal activities
I intended to take caused racial, religious and national origin-based hostility against me inside the
workplace. I was a victim of racial hostility/harassments during my employment and later adverse
employment decisions to affect me specifically were taken based on this hostility.

11. During the same meeting mentioned previously, Amy Shawver Morman told me in a passive
aggressive manner that , I was not able to manage my daily meal in my country(Bangladesh) , now
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in the United States of America I was able to get some food , have a job , even get a salary , so
what more should I expect ? and She later terminated me from the employment instead of having
a lawful work documents .

12. On May 11, 2018 I contacted homeland security and applied for political Asylum when I felt
My Supervisor and some co-workers are deliberately wanting to send me back to my national
origin although I had right to work at Job service North Dakota. In my Asylum Application, I
reported harassment I was experiencing in my workplace and the hostility they created against me
based on my national origin and marital status and they were wanting to limit my employment
terms based on my national origin and marital status. The defendant had access and knowledge of
my Asylum application as I had accessed my email from my office computer, and I believe my
employer had access to my work computer Internet communication. My Employer’s knowledge
regarding my harassment report to Homeland security, because of this participation in legal
activity opposing my employer’s action , my employer wanted to limit my work opportunity by
taking important employment policies, terms related decision in adverse way in order to remove
me from the job , terminated me from the job by force and created a situation to.send me back to
my home country also by wanting to jeopardize my asylum application.

13. From January 2018 to May 2018, I made many attempts to get Work extension papers when
enough time left on my current Employment Authorization Document. Especially HR manager,
Jason Sutheimer and Amy Shawver Morman were involved in the process. They gave me various
different explanations different times and showed negligence and discriminatory motive based on
my national origin and marital status and intentionally processed the work extension documents at
the last moment.

14. Based on my religion and national origin, I also believe Job Service North Dakota also had
some stereotypes regarding security issues although I was working there satisfying all the federal
and state laws. I also tried to cooperate with Human Resource and my supervisor several times
regarding this matter by properly communicating with them in a regular manner. After all these
efforts ,at some point , I felt harassed and reported to Human resource manager Jason Sutheimer
verbally that this delay or harassments affecting my work progress and creating emotional and
mental pressure in me, finally I reported to my supervisor that I am going to talk to an attorney
for this particular work extension related matter( in order to get help to find possible legal
solutions might be a charge of discrimination or similar legal action ) and its making me depressed.

15. After all those efforts, at the last moment, my employer started to work on Employment
Authorization extension documents. I also believe based on my national origin they simply
prolonged my probationary period date up to their will although I successfully completed my
probationary period on 1/7/2018. I was not provided with a laptop after I finished my probationary
period till the end of my employment although every other team members had laptops. When some
other illegal intents to not give me that work extensions were further expressed by Human
Resource manager Jason Sutheimer, I had to oppose their terms, policies, motive and decisions
by pointing to my rights, statutes, rules on various govt. information sources, websites etc.
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16.In May 2018, my supervisor deliberately misinterpreted the law regarding work extension
expressing the intention of creating limited employment terms like she is not interested to give
me that specific work extension or I-9 documents although I had right to work legally and also
commented directly to me “you keep half of your sentence inside you and express rest of the half
and get excited at the middle of your talk and your accent, “that’s part of the problem too (to keep
me employed at JSND)”. After all those efforts, I felt harassed and it emotionally and mentally
damaged me. She revealed her negative intent to limit my lawful right to work extension
opportunity .

17. In May 2018, I asked her work extension e-verify progress questions and Amy Shawver
Morman asked me when I was going to get married? I also replied that I am going to get married
to someone from my national origin here in USA. She intended to show limited employment
terms based on my national origin and marital status. Amy Shawver and Jason Sutheimer later
refused to accept a valid work document and discharged me from the employment although I had
right to work at Job Service North Dakota .

18. On 12th June 2018, Jason Sutheimer handed me printed copy of work extension related e-
verify Memorandum of understanding documents, before coming to my Desk Jason Sutheimer
went to Amy Shawver Morman’s desk and told my supervisor that these EAD(Employment
Authorization Documents are for part-time jobs (not for the job I was working there at JSND)”. I
reported to my supervisor at the same day that I can work at Job Service North Dakota lawfully
using any of the valid work authorization document or I-9 list provided by Job Service North
Dakota under federal employment laws and what Human Resource manager said is not right.

19. On 18th ,2018, In order to oppose discrimination I felt based on my national origin, religion,
marital status I said to Jason Sutheimer that “I currently have a I-20 document issued by
Department of Homeland Security and they issued two years of work Authorization” pointing to
the already issued J-9 documents in my hand in an asserting manner to oppose their ongoing
acts, words not to wanting to give me work extension in time and proper way after Jason Sutheimer
commented “this e-verify number will not work”. After this event, my employer refused to accept
that already issued valid I-9 document, which is also known as I-20 document and is extension of
my current work authorization document after June 26" ,2018. I believe Job Service North Dakota
considered that opposition activity to assert my rights as a threat.to file a lawsuit or discrimination
charge against them, as a result, Job Service North Dakota took adverse employment action
against me saying we have canceled the e-verify account and you have to show us other work
authorization or we cannot keep you employed at Job service North Dakota and initiated further
steps to completely remove me from the job.

20. Amy Shawver, Jason Sutheimer and Designated School Official (DSO) Carly Gunnerson at
North Dakota State University previously expressed disapproval or wanted to limit my rights
saying that you should not talk to an attorney, On June 20th, 2018, with the help of an attorney
I had a meeting with my supervisor Amy Shawver and HR manager Jason Sutheimer ,1 opposed
their decisions ,which was discriminatory and was adversely affecting my employment as] losing
two years of work authorization and my employment at Job Service North Dakota and pointed to
the federal and state statutes to oppose the rejection of the valid J-9 document or withdrawal from
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that e-verify account. Immediately after that event, | was presented with a termination letter and
was forced to sign it. "

21. On June 20th, 2018 ,Before signing the termination letter, 1 expressed disapproval of their
unlawful activity again and wanted to send that valid I-9 documents to USCIS(United States
Citizenship and Immigration Services) in an asserting manner or to keep me employed there based
on that lawful documentation in hand or opposing their discrimination, Jason Sutheimer threatened
me to jeopardize my Asylum case and Immigration status if I send those documents to United
states Citizenship and Immigration Services , On June 21" ,2018, Amy Shawver said “we don’t
want you to be deported” in not a positive tone and I believe they reported me to Department of
Homeland security regarding my Asylum case and Immigration status very negatively and wanting
me to send back to my national origin and took further adverse actions against me to make my
employment terms and Immigration status worse .

22. At the time they withdrew from e-verify account and refused to accept a valid I-9 document,
HR manager Jason Sutheimer derogatorily commented that I should work for a $10/hr job.

23. On June 21* ,2018 Mathwich Tyler asked me,” So, a master’s degree holder like you are not
going to throw a bomb, are you? and intentionally revealed the reason that Job service North
Dakota is removing me from the job. My supervisor asked me several questions regarding my
religion previously revealing that she has also a stereotyped view about my religious creed and
belief, I believe which-was created against me inside the Job service North Dakota co-workers by
only Muslim Community Center at Bismarck (religion) and Bangladeshi (national origin)
Community at North Dakota through their personal connections for political rivalry at my national
origin. As Job Service North Dakota also threatened me to jeopardize my Immigration status and
Asylum case I believe Job Service North Dakota also reported me as a “terrorist” to Homeland
Security as I faced similar questions during my asylum interview after opposing their adverse
employment decisions to damage me totally and removed me from job and wanted to send me
back to my national origin.

24. On June 21* ,2018 I informed all the adverse, unlawful employment actions that was taken
against me to then head of Job service North Dakota via email and requested her to reconsider the
decision to withdraw from e-verify account and accept my lawful I-9 documents which is affecting
me adversely and in a frustrating way . HR manager Jason Sutheimer and Amy Shawver knew that
I made a report to the Head of the agency. After that, Amy Shawver and Jason Sutheimer asked
me to give them a resignation letter. As they threatened me that they are going to Jeopardize my
asylum case and Immigration status previously and Amy Shawver uttered word deportation in a
negative way and I had asylum interview on 12 th July, 2018, mainly under that threat and
intimidation I felt forced to give them a resignation letter putting the words more or less exactly
what Jason Sutheimer instructed me to do and also keeping previous termination under force in
mind that situation might get worse and if I can at least save my immigration status and asylum
case . Resignation was against my will and the entire separation process was initiated by Job
service North Dakota.

25. On June 21* .2018, Jason Sutheimer and Amy Shawver gave me words that they are not
going to post job circular until December or January of 2019 and provided me printed copy of
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related statues of possible reinstatement instead of resignation and how resignation looks good
than termination and I slightly felt a hope inside me that they might reinstate me, Although
intimidation and threat primarily controlled me in that situation . But I received Job circular
notification for the same position On July 27th ,2018.

26. On June 21* ,2018, right before I was leaving the office, Drake Hodge also commented that
“so, you are not a citizen, huh? Amy Shawver also commented something similar to paycheck
will not be coming into your account if you need any help paying rent, let me know”. Mathwich
tyler commented something similar to getting citizenship is not that easy and told me to apply
unemployment benefits at the website I was working on.

27. During the separation process, Although my supervisor made phone calls to contact other
employers , | was not referred to any other similar positions ,I felt that was not an good faith
attempt to refer me to other employer for similar role , rather on 22th June ,2018 at NDDOT
(North Dakota Department of Transport ) waiting area HR manager Jason Sutheimer told me to
go to “clovedale” , a meat processing company, located at Mandan to get a job there as they were
enrolled into e-verify and I felt this was a continuation of adverse actions against me based on
my national origin, marital status, race, color.

28. I was suspiciously followed by many of my co-workers ( I can identify some of them as Pat.
C. Kelly, Cindy Lynk, Connie Johnson ) During the time of 5 -28 December 2018, at the end of
180 days time period after my termination , I made phone call to Bismarck police Department
regarding this matter and informed them something similar to that I still have time left and papers
to file a lawsuit against my employer and that’s why they are following me in an intimidating
manner and caused significant emotional and mental distress to me .That intimidation and
harassments was also a cause | left Bismarck Area.

29.After my termination, I believe my employer also spreaded information to some of the people
from my national origin they knew or affiliated with my national origin derogatorily against me
regarding my work capabilities and internet usage at home to ruin my reputation which I heard
back as a rumor from the people of my national origin.

30. I applied for another state position, PROGRAMMER ANALYST III 3012205 at Attorney
General Office, State Government of North Dakota, I mentioned job service North Dakota as a
reference and previous employer, I believe job service North Dakota informed them adversely
against me so that I.cannot get this new role.

31. In February 2019, after getting new Employment Authorization Document, I made phone call
to HR Jason Sutheimer and after not getting any response I informed Ms. Shelly at North Dakota
Governer office that I currently have another Employment Authorization document although they
already rejected a valid J-9 document previously and it does not require e-verify. I believe Ms
Shelly informed Job service North Dakota about my situation, but they refused to rehire me based
on their words they gave me regarding possible reinstatement. That slight hope I had based on the
words Amy Shawver and Jason Sutheimer uttered before asking me resignation was also gone
and I felt empty and tricked.
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32. After filing charge of discrimination, | came to know that Job Service North Dakota even
rehired a person for the same position on October 1“, 2018, who is from different national origin,
religion, race, color other than me.

I, Md Shakhawat Hossain is from country Bangladesh and my skin color is brown, my race is
Asian, my sex is male, my marital status is single.

I was qualified for the position at the time Job Service North Dakota fired me from the job.

I was forced to sign a termination letter and was asked and forced to provide a resignation letter
under intimidation by Job service North Dakota instead of having a lawful I-9 work document.

After they fired me from the job, my employer circulated the job posting for the same position and
even rehired a previous employee who is from different race, color, religion, national origin other
than me.

Job service North Dakota said that executive directors’ decision or “the whole agency” decided to
withdraw from e-verify account was the reason not to provide me my work extension. But, at that
point, I already had a valid I-9 document to prove my work eligibility after June 26" ,2018 and
Job service North Dakota just withdrew from that account in a matter of one day after I opposed
their decisions or terms or condition related with my employment. Job service North Dakota forced
me to sign a termination letter and subsequently asked me to sign a resignation under intimidation.
Those decisions were taken to end my employment at Job service North Dakota to limit my right
to work and affected me like they have almost ruined my career. I lost work opportunity, income,
benefits, promotions, experiences, enjoyment of life and even work authorization to work
somewhere else. Since the time because of these harassing behaviors and discrimination at Job I
had a depression and anxiety suffered mentally and emotionally that has turned into a major
depression and anxiety after I lost job and during new Job search it causing me sever pain and
sufferings. I was not able to actively look for job for the lack of work authorization. This has
created a gap in my employment and further suspicion to future employer during my employment
search which has severely damged my career and affecting my job search very negatively.

During my employment, I was subjected to hostile working environment, harassment , based on
my race/Asian, color/brown, , national origin/Bangladesh, sex/male, religion/Islam, marital
status/single (state only), Lawful Activity (building a personal relationship outside of the
workplace) (state only), and in retaliation for participating in protected activities . I have been
discriminated and retaliated against in violation of North Dakota human Rights Act (N.D.C.C Ch.
14-02.4) as amended and Title VII of the civil rights act and Immigration Reform and Control Act
of 1986 (IRCA).

Y 01/24/2020
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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

|, Md Shakhawat Hossain, applied to Programmer Analyst III Position at Job Service North Dakota
through North Dakota State Government website, | got an offer letter from Amy Shawver Morman on
March 30th, 2017.1 ,Md Shakhawat Hossain, began working for the Defendant, Job Service North
Dakota, in July 2017, as a Programmer Analyst Il. Amy Shawver Morman was my Supervisor and
team lead of JSND web team and Mathwich Tyler was my co-worker. Jason Sutheimer was Human
resource manager at the time | was terminated. Pat. C. kelly was supervisor of Amy Shawver Morman.
My national origin is Bangladesh,My skin color is brown , my sex is male, My Religion is Islam and race
is Asian.

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

 

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date) ©

04/10/2019
B. The Equal Employment Opportunity Commission (check one):
has not issued a Notice of Right to Sue letter.
[ issued a Notice of Right to Sue letter, which I received on (date) 10/31/2019

 

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

[| 60 days or more have elapsed.
[| less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed,,the amounts, and the reasons you claim you are entitled to actual or punitive
money damages. :

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V. Relief State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs alleged are
continuing at the present time. Include the amounts of any actual damages claimed for the acts
alleged and the basis for these amounts. Include any punitive or exemplary damages claimed, the
amounts, and the reasons you claim you are entitled to actual or punitive money damages.

Back Pay Salary Duration: 11 month 28 days

Basis for that Damage: Lost 11 months and 28 days of work authorization based on national
origin discrimination

Salary Amount =5200X6 months = $31,200 + 5356 X 5 months and 28 days = $31,780 =
$62980

Value of lost Benefit = $28000

Back Pay Damages Duration: 07/07/2017 -06/21/2018 = 11 months and 14 days

Basis for that Damage: Compensatory damages for Harassment During my employment for
causing emotional and mental distress and damaging personal and social life.

Compensatory Damage amount = $ 200,000

Back pay Salary Duration: 06/26/2018 -present

Basis for that Damage: Lost salary benefits and Compensatory Damages for Discrimination and
retaliation happened on 6/18/2018 -6/21/2018 and after that damages after that event
Back pay= 5400X12 =$64800 +5600X7=$ 39,200= $104,000

value of Lost Benefits= $50,000

Damages for job search, Relocation, Loss of enjoyment in Life emotional and mental
suffering during job search period = $200000

As still in job seeking mood: tentative Future pay and benefit = $ 50,000

value of lost future pays for losing almost 2 years and 7(until the point) months of job
experience:

As I am looking for job in my current city:

As an engineer with almost 3 more years of experience on average I would be making 93 k but
if I get employment now on average, I am going to make 77 k. Assuming, In average 15 years
Earning based on 2 years 7 months or almost 3 years experience loss will be same .
considering

Value of yearly income loss on average = $16 k

Value of yearly benefit loss on average = $8k

Total yearly loss = 24k.

Loss in every year Loss of income benefit based on experience loss= 15X24,000= $3,60,000
Lost other income Opportunity based on losing valid work authorization: 8X3100= $24,800
Loss = $1,079,780.

+ other damages (if any).

I want relief or equivalent compensatory damages (if any) for Losing valid visa status (if any)
and Losing EB2 based Green Card opportunity which was dependent on my employment at any
state agency and in order to qualify under that specific EB2 category.

On 04/24/2020
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Pro Se 7 (Rev. 12/16} Complaint for Employment Discrimination
Relief amount includes :

| am seeking back pay,futute pay value , and Compensatory damages , punitive damages(if any),other damages ,
reasonable attorneys’ fees and other costs as remedies for violations of my rights

Attachment pages contains a brief summay of damages without attorney fees and it basis:

 

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date ofsigning: 47/21/2020

7
Signature of Plaintiff Shp n

Printed Name of Plaintiff | Md ShakhawatHossain MD “SH AKHAWAT HassArNn

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm:
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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